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                   UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, JUDGE


 LECO SUPPLY, INC.

                                 Plaintiff,                    Court No. 21-cv-00136
          v.

 UNITED STATES,
                                 Defendant.




                                              ORDER

          Upon consideration of Leco Supply Inc.’s (“Plaintiff” or “Leco Supply”) Consent Motion

for a Preliminary Injunction to enjoin liquidation of certain entries, and other papers herein, it is

hereby:

          ORDERED that Plaintiff’s Consent Motion for a Preliminary Injunction is GRANTED;

          and it is further

          ORDERED that the United States, together with its delegates, officers, agents, and

servants, including employees of the United States Customs and Border Protection (“CBP”), shall

be, and are hereby ENJOINED, pending a final and conclusive court decision in this litigation,

including all appeals and remand proceedings, from issuing instructions to liquidate or from

causing or permitting liquidation of any and all unliquidated entries of wire hangers exported from

Laos that were:

          (1) Subject to CBP decision H315522 (February 24, 2021), which is CBP’s final

               administrative determination in response to Leco Supply’s request for review of the
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           initial determination in Enforce and Protect Act (“EAPA”) Consolidated Case No.

           7357;

       (2) Imported by Plaintiff Leco Supply;

       (3) Entered, or withdrawn from warehouse, for consumption on or after October 3, 2018,

           up to and including October 26, 2020, the date of completion of the investigation in

           Cons. Case No. 7357; and that

       (4) Remain unliquidated as of 5:00pm on the day the Court enters the order enjoining

           liquidation on the docket of this action; and it is further

       ORDERED that this injunction shall dissolve upon entry of a final court decision in this

litigation, including all appeals and remand proceedings, and that the entries covered by this

injunction shall be liquidated in accordance with that final decision.




                                                                         /S/ Mark A. Barnett
                                                                         ______________________
                                                                         Mark A. Barnett
                                                                         Chief Judge

       April 19
Dated: ______________, 2021
       New York, NY
